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     KA: USAO 2020R00659
                                                                    SEALED
     UNITED STATES OF AMERICA
                                                       *      CRIMINAL NO^KD6 TAOS' ^ ^ ^
              v.
                                                              (Passport Application Fraud, 18 U.S.C.
     JOHN DOE,                                                § 1542; Social Security Number Fraud,
      a/k/a Hugo Dante Balboa,                                42 U.S.C. § 408(a)(7)(B); Aggravated
                                                       *      Identity Theft, 18 U.S.C. § 1028A;
                    Defendant.                                Forfeiture, 18 U.S.C. § 982(a)(6), 21
                                                              U.S.C. § 853(p), 28 U.S.C. § 2461(c))
                                                      *
                                                   *******


                                             INDICTMENT

                                              COUNTONE
                                       (Passport Application Fraud)

            The Grand Jury for the District of Maryland charges that:

            On or about March 16, 2019. in the District of Maryland and elsewhere,

    the defendant.

                                             JOHN DOE,
                                       a/k/a Hugo Dante Balboa,

    willfully and knowingly made a false statement in an application for a passport with intent to

    induce and secure for his own use the issuance of a passport under the authority of the United

    States for his own use contrary to the laws regulating the issuance of passports and the rules

    prescribed pursuant to such laws, that is, JOHN DOE, a/k/a Hugo Dante Balboa presented a

    signed and completed Department of State Form DS-11 (Application for a United States

    Passport) to a United States Postal Service employee at the United States Post Office in

    Frederick, Maryland, which contained false information.

    18 U.S.C. § 1542
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                                             COUNT TWO
                                     (Social Security Number Fraud)

           The Grand Jury for the District of Maryland further charges that:

           On or about March 16, 2019, in the District of Maryland, the defendant,

                                             JOHN DOE,
                                       a/k/a Hugo Dante Balboa,

    for the purpose of obtaining something of value, and for any other purpose, and with the intent to

    deceive, falsely represented a number to be the social security account number assigned to him

    by the Commissioner of Social Security, when, in fact, such number was not the social security

    account number assigned by the Commissioner of Social Security to him, that is, JOHN DOE,

    a/k/a Hugo Dante Balboa, falsely represented in a Passport application that his social security

    account number was xxx-xx-7689, when in fact he knew that social security account number

    belonged to another person.



    42 U.S.C. § 408(a)(7)(B)




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                                       COUNT THREE
                                   (Aggravated Identity Theft)

       The Grand Jury for the District of Maryland further charges that:

       On or about March 16, 2019, in the District of Maryland, the defendant,

                                          JOHN DOE,
                                   a/k/a Hugo Dante Balboa,

did knowingly possess and use, without lawful authority, a means of identification of another

person during and in relation to a felony violation enumerated in 18 U.S.C. § 1028A(c), that is,

JOHN DOE, a/k/a Hugo Dante Balboa used personal information of Victim #1 during and in

relation to Passport Application Fraud as alleged in Count One of this Indictment and Social

Security Number Fraud as alleged in Count Two of this Indictment.


18 U.S.C. §§ 1028A(a)(l), 1028A(c)(7) and (11)




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                                      FORFEITURE ALLEGATION

            The Grand Jury for the District of Maryland further finds that:

                    Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to the

    defendant that the United States will seek forfeiture as part of any sentence in accordance with

    18 U.S.C. § 982(a)(6), 21 U.S.C. § 853(p), and 28 U.S.C. § 2461 (c) as a result of the defendant's

    conviction under the offense alleged in Count One of this Indictment.

            2.      Pursuant to 18 U.S.C. § 982(a)(6), upon conviction of the offense set forth in

    Count One of this Indictment, the defendant.

                                                JOHN DOE,
                                          a/k/a Hugo Dante Balboa,

    shall forfeit to the United States:

                    a.      Any conveyance, including any vessel, vehicle, or aircraft used in the

    commission of the offense: and

                    b.      Any property real or personal that constitutes, or is derived from or

    traceable to the proceeds obtained directly or indirectly from the commission of the offense, or

    that is used to facilitate, or is intended to be used to facilitate, the commission of the offense.

                                              Substitute Assets

            3.      If any of the property described above, as a result of any act or omission of the

    defendant:

                    a.      cannot be located upon the exercise of due diligence;

                    b.      has been transferred or sold to, or deposited with, a third party;

                   c.       has been placed beyond the jurisdiction of the court:

                   d.       has been substantially diminished in value; or

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              e.      has been commingled with other property which cannot be divided without

difficulty,

the United States shall be entitled to forfeiture of substitute property pursuant to 21 U.S.C.

§ 853(p), as incorporated by 28 U.S.C. § 2461(c).




                                                   Jonathan F. Lenzner O
                                                   Acting United States Attorney
A TRUE BILL:


SIGNATURE REDACTED                                    S- 12-2.1
Foreperson                                         Date




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